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UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF COLORADO

IN RE: )
)
LOAN STOP ACQUISITION, LLC, ) Case No. 24-16031-KHT
) Chapter 7
Debtor. )
ENTRY OF APPEARANCE

COMES NOW, James G. Anderson, P.C., and hereby enter its appearance on behalf of
James G. Anderson and requests that all notices, pleadings and other documents filed in this
proceeding be sent to the undersigned counsel.

James G. Anderson, P.C.
October 29, 2024

/s/ James G. Anderson

James G. Anderson #1721

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Aurora, CO 80011

303-343-4504

Fax: 303-366-4078

gremly@jgandersonpc.com

Certificate of Service

I hereby certify that on the 29th day of October, 2024, I served by electronic transmission
the foregoing Entry of Appearance to:

Simon E. Rodriguez, Chapter 7 Trustee US Trustee James Seth Moore

/s/ James G. Anderson

